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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

JESSE AARON DAVISON

                    Petitioner       *

              vs.                    *    CIVIL ACTION NO. MJG-14-910
                                             (Criminal No. MJG-10-0632)
UNITED STATES OF AMERICA             *

                    Respondent       *

*         *         *        *       *         *       *        *         *

              MEMORANDUM AND ORDER RE: SECTION 2255 MOTION

     The Court has before it Petitioner's Motion to Vacate, Set

Aside, or Correct Sentence Under 28 U.S.C. § 2255 [Document 175]

and the materials submitted relating thereto.           The Court finds

that a hearing is unnecessary.



I.   BACKGROUND

     On February 9, 2011, Petitioner was charged in an eight-

Count Superseding Indictment [Documents 51, 61]:

             Count One - Conspiracy to Produce Child Pornography in
              violation of 18 U.S.C. § 2251(a);

             Counts Two through Six - Production of Child
              Pornography in violation of 18 U.S.C. § 2251(a), 18
              U.S.C. § 2256;

             Count Seven - Possession of Child Pornography in
              violation of 18 U.S.C. § 2252A(a)(5)(B); and

             Count Eight - Tampering with Objects and Proceedings,
              in violation of 18 U.S.C. § 1512(c)(1), (2).
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      Petitioner was tried to the Court without a jury.            On May

12, 2011, the Court announced its decision, finding Petitioner

Guilty on all Counts other than Count 6.        On May 18, 2011, the

Court issued its Supplemental Decision on Count Six, finding

Petitioner not guilty on Count Six.       See [Document 109].

      On July 28, 2011, the Court imposed sentences against

Petitioner of life imprisonment on Counts 1 through 5, 120

months imprisonment on Count 7, and 60 months imprisonment on

Count 8, all concurrent with each other and with Petitioner's

state sentences.    Petitioner appealed to the United States Court

of Appeals for the Fourth Circuit.       [Document 128].     The

appellate court affirmed Petitioner's conviction and sentence.

United States v. Davison, 492 F. App'x 391 (4th Cir. 2012), cert

den. 133 S. Ct. 1611 (2013).



II.   GROUNDS ASSERTED

      In the instant Motion, Petitioner has presented twenty-five1

Grounds for relief that can be labelled as follows:

      1.    Prosecutorial "misconduct" - legal argument;

      2.    Court - fact findings, inadequacy of proof;

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     In    his Reply to the Government's response to the instant
motion,    Petitioner refers to a Ground Twenty-Six. See [Document
188] at    32. However, there is no such Ground set forth in the
instant    Motion.
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3.    Court - fact findings, inadequacy of proof;

4.    Court - fact findings, inadequacy of proof;

5.    Court – burden of proof error;

6.    Court - illegal sentence imposed;

7.    Court – no retrial of Count 8;

8.    Court - fact findings, inadequacy of proof;

9.    Counsel – burden of proof error;

10.   Counsel – argument, inadequacy of proof;

11.   Counsel - fact findings, inadequacy of proof;

12.   Counsel - fact findings, inadequacy of proof;

13.   Counsel - burden of proof error;

14.   Counsel - illegal sentence;

15.   Counsel - no retrial of Count 8;

16.   Counsel - fact findings, inadequacy of proof;

17.   Counsel - fact findings, inadequacy of proof;

18.   Counsel – defense theory, Broxmeyer decision;

19.   Counsel – defense theory, inadequacy of proof;

20.   Counsel – defense theory, inadequacy of proof;

21.   Counsel – cross examination advice;

22.   Counsel - cumulative effect;

23.   Appellate counsel – inadequate advocacy;

24.   Court - burden of proof error; and

25.   Court – admission of Petitioner's statement.
                              3
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III. PERTINENT PRINCIPLES

     A.    Issues Resolved on Appeal or Waived

     A § 2255 post-conviction attack on a finding of guilt or on

a sentence cannot be used to assert grounds that were resolved

on direct appeal.   See United States v. Linder, 552 F.3d 391,

396 (4th Cir. 2009) ("[A Petitioner] may not circumvent a proper

ruling [from a] challenge on direct appeal by re-raising the

same challenge in a § 2255 motion."); see also United States v.

Dyess, 730 F.3d 354 (4th Cir. 2013).      Nor can § 2255 be utilized

"to retry the case or to raise questions which might have been

raised upon appeal."    Sanders v. United States, 230 F.2d 127,

127 (4th Cir. 1956) (per curiam).

     Petitioner has not established actual innocence, or cause,

warranting his being able to effectively retry the case and

reargue his appeal.



     B.   Ineffective Assistance of Counsel

     In order to prevail on a claim that counsel's

representation violated his Sixth Amendment right to effective

assistance of counsel, Petitioner must show (1) "that counsel's

representation fell below an objective standard of




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reasonableness,"2 and (2) "that there is a reasonable probability

that, but for counsel's unprofessional errors, the result of the

proceeding would have been different."        Strickland v.

Washington, 466 U.S. 668, 687-88, 694 (1984).         "A reasonable

probability is a probability sufficient to undermine confidence

in the outcome [of the proceedings]."        Id. at 694.

      Moreover, an ineffective assistance of counsel claim cannot

be utilized to provide a vehicle to present issues that were

resolved on direct appeal or that have been waived.



IV.   DISCUSSION

      In the instant case, Petitioner elected to have the case

tried by the Court without a jury.       He was convicted on seven

Counts (Counts 1-5, 7-8) and found not guilty on one Count

(Count 6).   On direct appeal, the Fourth Circuit affirmed

Petitioner's conviction and sentence, expressly addressing and

rejecting Petitioner's contention that the evidence was

inadequate to establish his guilt on all Counts on which he was

convicted.   United States v. Davison, 492 F. App'x 391, 394 (4th

Cir. 2012) (per curiam) ("Having reviewed the record, we




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     Thus overcoming a presumption that counsel's conduct (i. e.
representation of the criminal defendant) was reasonable. See
Strickland v. Washington, 466 U.S. 668, 687-88 (1984).
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conclude that the convictions are supported by sufficient

evidence."), cert den. 133 S. Ct. 1611 (2013).

   By the instant Motion, Petitioner seeks to reargue the case

in order to debate the Court's factual findings and the

appellate court's determination that the evidence was adequate

to support his convictions.        He cannot, as a procedural matter,

do so.    Moreover, even if there were no procedural limitations

restricting the scope of issues considered, the Court finds that

the evidence presented at trial proved Petitioner's guilt beyond

any reasonable doubt.       Petitioner and his co-Defendant together

engaged in a series of sexual acts with a ten-year-old girl.

They made, and caused to be made, visual depictions of these

actions.     There is no plausible basis on which Petitioner could

contend that that he was convicted wrongfully.

   The instant discussion addresses the Grounds asserted by

Petitioner, grouped together to avoid needless repetition.



     A.      Inadequate Proof – Grounds 2-4, 8, 10-12, 16–17, 19-20

   Whether labelled as erroneous findings by the Court or as

inadequate assistance on the part of trial counsel, these

Grounds have a common core. That is, Petitioner contends, in

these Grounds, that the Court's findings of guilt were not based

upon adequate evidence.       However, on Petitioner's direct appeal,


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the United States Court of Appeals for the Fourth Circuit

addressed and resolved the matter, stating:

             Davison challenges the sufficiency of the
             evidence regarding each count of conviction.
             A defendant challenging the sufficiency of
             the evidence faces a heavy burden. United
             States v. Beidler, 110 F.3d 1064, 1067 (4th
             Cir.1997).    In    determining     whether    the
             evidence in the record is sufficient, we
             view   the   evidence     in    the   light   most
             favorable to the government. United States
             v. Burgos, 94 F.3d 849, 862 (4th Cir.1996)
             (en   banc).     “Reversal     for   insufficient
             evidence is reserved for the rare case where
             the   prosecution's      failure     is    clear.”
             Beidler,   110     F.3d    at    1067    (internal
             quotation   marks    and     citation    omitted).
             Having reviewed the record, we conclude that
             the convictions are supported by sufficient
             evidence.

Davison, 492 F. App'x at 394.

     Accordingly, Petitioner is not entitled to relief based

upon an alleged insufficiency of the evidence or upon trial

counsel's alleged inadequate advocacy thereon.



     B.      Burden of Proof – Grounds 5, 9, 13, 24

     While labelled as contentions that the Court failed to

apply the correct burden of proof, these Grounds are, in

substance, contentions that the evidence was not sufficient to

support the Court's findings of guilty beyond a reasonable

doubt.    The appellate court's decision that the evidence was



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sufficient is conclusive regarding the adequacy of the evidence

to support a finding of guilty proven beyond a reasonable doubt.

     Moreover, the Court did, in fact, decide the case requiring

the Government to prove its charges beyond a reasonable doubt.

     The Court announced its decision on Counts 1 – 5 and 7-8 on

the record of proceedings held May 12, 2011.        The Court stated

that Document 88, the Government's requested statement of the

elements - analogized to "jury" instructions – was "the legal

basis on which the [Court as] fact finder has proceeded."             Tr.

May 12, 2011, 59:15-25.    The said document sets forth that, as

to each Count, the essential elements of the offense are

"required to be proven beyond a reasonable doubt."         See

[Document 88] at 2, 9, 15, and 20.

     In the Supplemental Decision on Count 6 [Document 109], the

Court expressly referred to the failure of the Government to

meet the pertinent burden of proof as the reason for finding

Petitioner not guilty of the charge in Count 6. As stated

therein:

           The bottom line is that the Court finds the
           evidence   sufficient  to  establish   by   a
           preponderance of the evidence that Defendant
           Davison committed the offense and, possibly,
           sufficient to establish this on the clear
           and convincing evidence standard.    However,
           upon consideration of all the evidence
           presented and not presented, the Court does
           not find the charge in Count 6 established
           beyond a reasonable doubt.
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Id. at 4 (emphasis added).

     Accordingly, Petitioner is not entitled to relief based

upon any failure of the Court to apply the correct burden of

proof or with regard to trial counsel's advocacy relating

thereto.



     C.     Illegal Sentence – Grounds 6, 14

     Petitioner states, in Ground 6, a contention that the Court

sentenced him "illegally."     [Document 175] at 10.      However, the

contention is not expressed in a comprehensible manner.3              The

Court found no explanation of this Ground in Petitioner's

Memorandum of Law in support of the instant Motion [Document

175-1].    Moreover, Petitioner's Reply to the Government's

Response proceeds from a discussion of Ground 5 to a discussion

of Ground 7, without reference to Ground 6.        See [Document 188]

at 6–8.

     However, the Court notes Petitioner's citation to United

States v. Gibbs, 506 F.3d 479 (6th Cir. 2007) in the instant

Motion.    See [Document 175] at 10.    In Gibbs, the district court


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     Petitioner advances similar arguments as to Ground 6 and
Ground 14, with the only difference being that Ground 14 refers
to trial counsel's alleged ineffective assistance in failing to
object to the "illegal sentence." See [Document 175] at 20
("For a review of the 'Supporting Facts' and 'Law' for 'Ground
Fourteen,' see . . . 'Ground Six' of this Motion.").
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was reversed for stating that it was required to make its

federal sentence consecutive to a state sentence.         506 F.3d 487-

88.   If the Gibbs decision is the basis for the illegal sentence

contention, reliance thereon would be misplaced.         In the instant

case, the Court made all sentences on all counts concurrent –

not consecutive - with each other and with the state court

sentence.   Hence, there was no inconsistency with the decision

in Gibbs.

      Accordingly, Petitioner is not entitled to relief based

upon any illegal sentencing by the Court or with regard to trial

counsel's advocacy relating thereto.



      D.    Retrial of Count Eight – Grounds 7, 15

      Petitioner contends that the decision of the Supreme Court

of the United States in Fowler v. United States, ___ U.S. ___,

131 S. Ct 2045 (2011), requires a new trial on the charges in

Count Eight of the Superseding Indictment.

      In Count Eight, Petitioner was charged with violating 18

U.S.C. § 1512(c)(1) and (2).       The Superseding Indictment stated:

            From on or about June 7, 2010 through on or
            about June 18, 2010 in the District of
            Maryland, the defendant,

                   JESSE   AARON    DAVISON,

            Attempted  to  and       did corruptly alter,
            destroy, mutilate,      and conceal a record,
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          document, and object, with the intent to
          impair the integrity and availability for
          use in an official proceeding, and otherwise
          to   obstruct,  influence  and   impede  any
          official proceeding.

          18 U.S.C. § 1512(c)(1) and (2)
          18 U.S.C. § 2

[Document 61] at 10.

     The Government proved that Petitioner was responsible for

steps taken to destroy evidence that was material to the

investigation – at the time by state rather than by federal

officers – which resulted in the charges at issue herein.         In

Fowler, the Supreme Court stated, in a context analogous to the

instant case:

          We consequently hold that (in a case such as
          this one where the defendant does not have
          particular federal law enforcement officers
          in   mind)  the   Government  must   show  a
          reasonable likelihood that, had, e.g., the
          victim communicated with law enforcement
          officers,     at    least    one    relevant
          communication would have been made to a
          federal law enforcement officer. That is to
          say, where the defendant kills a person with
          an intent to prevent communication with law
          enforcement officers generally, that intent
          includes an intent to prevent communications
          with federal law enforcement officers only
          if it is reasonably likely under the
          circumstances that (in the absence of the
          killing) at least one of the relevant
          communications would have been made to a
          federal officer.

          The Government need not show that such a
          communication, had it occurred, would have
          been federal beyond a reasonable doubt, nor
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          even that it is more likely than not. . . .
          But the Government must show that the
          likelihood of communication to a federal
          officer was more than remote, outlandish, or
          simply hypothetical.

131 S. Ct. at 2052.

     The Court did not, and does not, find that the Fowler

decision warranted a new trial on the charges in Count Eight.

The evidence established, without doubt, that there was a

reasonable likelihood - certainly greater "than remote,

outlandish or simply hypothetical" - that state officers would

have brought to the attention of federal authorities images

showing Petitioner's participation in sexually explicit conduct

with a ten-year-old girl.



     E.   Prosecutorial Misconduct - Ground 1

     Petitioner alleges that the prosecutor misstated the law

regarding the burden of proof, the Broxmeyer decision, and the

Court's fact findings.    As discussed in regard to Petitioner's

Grounds based thereon, Petitioner's positions on these matters

lack merit.

     Petitioner is not entitled to relief based upon the alleged

prosecutorial misconduct or upon trial counsel's alleged failure

to object thereto.




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     F.   The Broxmeyer Decision – Ground 18

     Petitioner asserts that trial counsel was ineffective for

failing adequately to present contentions based upon the

decision in United States v. Broxmeyer, 616 F.3d 120 (2nd Cir.

2010), and that the Court erred by not finding Petitioner guilty

in light of that decision.

     The Broxmeyer court held that proof of a charge under 18

U.S.C. § 2251(a) requires proof that the defendant's persuasion,

enticement or coercion caused the production of a visual

depiction of explicit sexual conduct.      616 F.3d at 125.     In

Broxmeyer, the appellate court determined that the Government

had failed to prove when the victim took the pictures at issue.

Id. at 126-27.   Indeed, the evidence in Broxmeyer was consistent

with the victim having taken the pictures prior to her beginning

a sexual relationship with the defendant.

     No argument by Petitioner's trial counsel based upon

Broxmeyer would have prevailed in the instant case.        The videos

charged in Counts Two and Three were taken by the victim while

she was engaged in sexual activity with the defendants.

     In regard to the Count Two video taken by the victim,

Petitioner directed the victim to "hold it [the device taking

the video] right there" and "get [them / our] faces."         Tr. Apr.

22, 2011, 227:7-228:23.


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     In regard to the Count Three video, Petitioner was

directing the victim's actions that were being recorded, stating

"There you go," "Don't try to go fast," and "Just like that."

Tr. Apr. 22, 2011, 232:25-233:20.      Petitioner also used the

victim's hand to masturbate the co-Defendant.       232:12-19.

     The evidence was adequate to support the Court's finding,

beyond a reasonable doubt, that Petitioner caused the victim to

engage in sexually explicit conduct for the purpose of producing

a visual depiction of such conduct.

     Accordingly, Petitioner is not entitled to relief based

upon trial counsel's advocacy, or lack of advocacy, regarding

the Broxmeyer decision or by the Court's not relying upon that

decision to find Petitioner not guilty.



     G.   Cross-Examination Advice – Ground 21

     The Court granted Petitioner's motion to be allowed to

conduct the cross-examination of the co-Defendant.        See

[Document 87].   Petitioner did so.     He contends that trial

counsel erroneously advised him "that he should not ask [the co-

Defendant] 'questions' where he does not know if she will answer

the questions asked 'truthfully.'"      [Document 175] at 23.

     Petitioner does not specify what particular exculpatory

evidence would (or even might) have been adduced from the co-


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Defendant by virtue of questions that he did not ask of her.

Nor does Petitioner present anything to establish a reasonable

probability that additional cross-examination of the co-

Defendant would have changed the result of the trial.

     Accordingly, Petitioner is not entitled to relief based

upon trial counsel's allegedly ineffective advice regarding

Petitioner's cross-examination of the co-Defendant.



     H.   Cumulative Effect – Ground 22

     Petitioner states that the cumulative effect of all of

trial counsel's alleged errors had the effect of depriving him

of the effective assistance of counsel.      The Court has found

that none of trial counsel's actions taken singularly, nor all

taken together, deprived Petitioner of the effective assistance

of counsel.

     The Government's evidence of guilt was overwhelming, and

included, but was not limited to, evidence of Petitioner engaged

in sexually explicit conduct in visual depictions for which he

was convicted.



     I.   Inadequacy of Appellate Counsel - Ground 23

     Petitioner contends that his appellate counsel failed

adequately to present his appeal.


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     This Court did not participate in the appeal.        This Court

will defer to the appellate court, the United States Court of

Appeals for the Fourth Circuit, to take such action, if any, as

may be appropriate in regard to the appellate proceedings.



     J.   Admission of Petitioner's Statement – Ground 25

     Petitioner contends that the Court erred in admitting into

evidence a statement made by him to a witness, Ms. Tusing.

Petitioner contends that the "'statement' lack[ed] the 'in

furtherance' element required for such a statement to be

admitted 'against' the petitioner in accordance with Fed. R.

Evid. - 801(d)(2)."   [Document 175] at 31.

     Apparently, Petitioner is referring to Rule 801(d)(2)(E)

relating to out-of-court statements of a co-conspirator in

furtherance of a conspiracy.     However, as Petitioner states, the

subject of the Ground is "petitioner's own 'Statement' made to

'Ms. Tusing.'"   [Document 175] at 31.     Therefore, there is no

"in furtherance" finding required for admission.        Rather, the

statement was admissible pursuant to Federal Rule of Evidence

801(d)(2)(A) ("made by the party in an individual or

representative capacity").




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V. CONCLUSION

     For the foregoing reasons:

          1.    Petitioner's Motion to Vacate, Set Aside, or
                Correct Sentence Under 28 U.S.C. § 2255 [Document
                175] is DENIED.

          2.    This case shall be dismissed with prejudice.

          3.    Judgment shall be entered by separate order.



     SO ORDERED, on Friday, May 29, 2015.



                                                  /s/__________
                                            Marvin J. Garbis
                                       United States District Judge




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